          Case 1:20-cv-00771-RP Document 4-1 Filed 09/01/20 Page 1 of 2
                                               Exhibit "A"


                                   AFFIDAVIT OF DUE DILIGENCE

                                                                                                County of Western
State of Texas

Case Number: 1:20-CV-771RP

Plaintiff:
                                                                                          CAN2020000384
FOAD ASSOU
vs.
Defendant:
THE KENAN ADVANTAGE GROUP, INC., KENAN TRANSPORT, LLC,
PETRO CHEMICAL TRANSPORT, LLC., and GHION TSEGA

For:
Pronto Process
1406 W Salinas
San Antonio , TX 78207
                                                                                                          Tsega,
Received by Pronto Process on the 14th day of August , 2020 at 2:28 pm to be served on Ghion
1808 Bent Oak Cove, Leander, Williamson County, TX 78641 .
                                                                                                         at 4:57 pm,
I , Emmanuel Morales, being duly sworn, depose and say that on the 17th day of August, 2020
I:
                                                                                                        ,
NON-SERVED the Summons and Plaintiffs Original Complaint; Jury Demanded After due search
                                                                             the reasons detailed in the
careful inquiry and diligent attempts was unable to serve on Ghion Tsega for
comments below.

Additional Information pertaining to this Service:
                                                                                                           driveway
8/15/2020 12:05 pm Attempted service at 1808 Bent Oak Cove, Leander, TX 78641, vehicle in
Jsk 6827, spoke with female said not home left my calling card to contact me
8/15/2020 12:16 pm I received call phone number 512-733-3342 said is not available working out
                                                                                                             of town ,




                                             was  a document    to be delivered  personally  stated  don 't know
asked me what it was regarding thanks, it
when he'll be available
                                                                                                               from
8/15/2020 12: 40 pm Attempted service at 1808 Bent Oak Cove, Leander, TX 78641, received call
tsega stated what is it Regarding why am I calling him. Explained      again  I have  a document   to deliver ,  asked
                                                     mentioned    I needed  to  deliver personally he  then   hung   up
what it was regarding I explained what it was    and
                              he  stated  stop calling me  this is harassment    yelling and hung  up  the  phone   .
the phone. I called him back
Avoiding service
                                                                                                                  ,
8/17/2020 10:18 am vehicle is registered to SOSINA ALEMAYEHU who lives at 1808 Bent Oak Cove
Leander
8/17 /2020 10: 40 am Attempted service at 1808 Bent Oak Cove, Leander , TX 78641 no vehicles in drive
                                                                                                                      .
I knocked  on door . No  asnwer . I left my calling card to contact  me .
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                                                             Exhibit "A"


                           AFFIDAVIT OF DUE DILIGENCE For 1:20-CV-771RP

     I certify that I am approved by the Supreme Court of Texas , Misc. Docket No. 05-9122 under rule 103, 501
                                                                                                                  ,
     and 501.2 of the TRCP to deliver citations and other notices from any District , County and Justice Courts  in
     and for the State of Texas . I am competent to make this oath; I am not less than 18 years of age, I am not a
     party to the above-referenced cause, I have not been convicted of a felony or a crime of moral turpitude
                                                                                                               ,
     and I am not interested in the outcome of the above-referenced cause  .




                                                                                    Emmanuel Morales
     Subscribed and Sworn to before me on the 18th day                              P S C # 10708 Exp. 12/ 31/2021
     of August, 2020 by the affiant who is personally
     known to me.                                                                   Pronto Process

    'H&i
      NOTARY PUBLIC
                                                                                    1406 W Salinas
                                                                                    San Antonio, TX 78207
                                                                                    ( 210 ) 226-7192

f
i
             KATHERINE A MITCHELL                                                   Our Job Serial Number: CAN-2020000384
            Notary Public , State of Texas                                          Ref: 20-7026
            C mm Expires 10'10- 2022
    Ximfc* °  Notary ID 131755992
                                             ight © 1992-2020 Database Services Inc - Process Server' s Toolbox V8 1 c
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